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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


VIRGINIA L. GIUFFRE,

             Plaintiff,                         Case No. 21-cv-6702-LAK


v.

PRINCE ANDREW, DUKE OF YORK,
a/k/a ANDREW ALBERT CHRISTIAN
EDWARD, in his personal capacity,

             Defendant.

_____________________________________


            PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
     PRINCE ANDREW’S MOTION TO DISMISS OR, IN THE ALTERNATIVE, FOR A
       MORE DEFINITE STATEMENT, AND REQUEST FOR JUDICIAL NOTICE
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       Plaintiff Virginia Giuffre respectfully submits this memorandum of law in opposition to

(1) Prince Andrew’s motion to dismiss pursuant to Rule 12(b)(6) or, in the alternative, for a more

definite statement pursuant to Rule 12(e), and (2) Prince Andrew’s request for judicial notice.

                             I.     PRELIMINARY STATEMENT

       Defendant’s burden on a motion to dismiss is to demonstrate that, as a matter of law, taking

all of the allegations in Plaintiff’s Complaint as true, and giving Plaintiff every reasonable

inference, Plaintiff has not asserted a claim upon which relief may be granted. Defendant’s motion

is part jury argument, and part press release. It is not a serious motion to dismiss.

       Defendant argues that New York’s Child Victims Act (“CVA”) revival statute violates the

New York State Constitution—an argument rejected by each of the several New York State and

federal courts to consider the issue.

       Defendant also argues that Ms. Giuffre’s complaint is somehow not sufficiently clear about

the sexual abuse she suffered—an argument at odds with both the actual allegations of the

Complaint and the applicable pleading standards. All that is required under Rule 8(a)(2) (a rule

Defendant studiously avoids discussing or citing in his papers) is a “short and plain statement of

the claim.” “Specific facts are not necessary” and the Complaint “need only give the defendant

fair notice of what the . . . claim is and the grounds on which it rests.” Erickson v. Pardus, 551

U.S. 89, 93, 127 S. Ct. 2197, 2200 (2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555,

127 S. Ct. 1955, 1964 (2007)). Defendant cites no case requiring a tort victim to allege the details

he says are missing. The law is to the contrary. See, e.g., Doe v. Indyke, 465 F. Supp. 3d 452, 465

(S.D.N.Y. 2020); Doe v. NYS Off. of Child. & Fam. Servs., No. 1:20-cv-01195 (BKS/CFH), 2021

WL 2826457, at *10 (N.D.N.Y. July 7, 2021).

       Plaintiff is confident that Defendant’s attempted reliance on a release to which he is not a

party, which was executed in a case to which he was not a party, which by its terms excludes him,


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upon which he never relied (and indeed of which he was never aware until this year), and which

the actual parties to the release have made clear did not release Defendant, will be rejected at trial

and/or summary judgment. For present purposes, however, all that is necessary to note is that the

release is an affirmative defense outside the Complaint, for which Defendant bears the burden, and

whose validity and applicability to Defendant is disputed.

       The remainder of Defendant’s motion is an attack on Plaintiff’s credibility, character, and

motives that lacks foundation in fact and continues Defendant’s efforts to avoid confronting his

own misconduct by attempting to blame and shame his victim. Defendant’s motion was intended

to be, and was extensively used as, a press release to attack Ms. Giuffre in the media. Defendant

dared to make his baseless, defamatory attacks on Ms. Giuffre in his motion only because doing

so in a court filing insulated him from the libel lawsuit that would otherwise result. What remedy

exists for Defendant’s abuse of the legal system can be left for another day. For the present, it is

sufficient to again note that, to the extent Defendant’s allegations are relevant at all, they will be

decided by a jury or at summary judgment, not on a motion to dismiss.

                                II.    STATEMENT OF FACTS

       Beginning when she was a minor, Plaintiff Virginia Giuffre was the victim of sex

trafficking and abuse by Jeffrey Epstein. Complaint, ECF No. 1 (“Compl.”) ¶¶ 2, 24. In addition

to abusing Ms. Giuffre himself, Epstein also lent her out to other rich and powerful men for sex.

Id. ¶¶ 25–27. One such man was the Defendant, Prince Andrew, the Duke of York. Id. ¶ 27.

       A.      Plaintiff’s Allegations in the Complaint Concerning Prince Andrew

       Prince Andrew sexually abused Ms. Giuffre on a number of occasions when she was under

the age of 18 (id. ¶¶ 37, 39, 40) including at Epstein’s New York mansion, where Prince Andrew

touched Ms. Giuffre while Ghislaine Maxwell forced Ms. Giuffre and another victim to sit on his

lap, and then forced Ms. Giuffre to engage in sex acts with him. Id. ¶ 39. During each incident,


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Ms. Giuffre did not consent to engaging in any sexual activity with Prince Andrew (id. ¶ 44), but

she feared she would be harmed, and even killed, if she disobeyed Epstein, Maxwell, and Prince

Andrew. Id. ¶ 41. During each incident, Prince Andrew knew that Plaintiff was a victim of sex

trafficking, and intended to compel her into submission to gratify his own sexual desires. Id. ¶¶ 42,

45–46, 71.

        Prince Andrew had been friends with Epstein and Maxwell since at least 1999, when Prince

Andrew flew with Epstein and Maxwell on Epstein’s private plane, also widely known as the

“Lolita Express.” Id. ¶ 31. Epstein, Maxwell, and Prince Andrew were so close that Epstein and

Maxwell attended Prince Andrew’s 40th birthday party and Prince Andrew threw Maxwell a

birthday party that Epstein also attended. Id. ¶ 32. Epstein kept at least 12 contact numbers for

Prince Andrew in his “Black Book”—his rolodex of rich and powerful friends. Id. ¶ 23.

        In 2006, only one month after Epstein was charged with procuring a minor for prostitution

in Florida, Prince Andrew invited Epstein to his daughter’s 18th birthday party, unconcerned by

the public revelation of Epstein’s sex trafficking and abuse of underage girls. Id. ¶ 33. Prince

Andrew also continued to visit and stay with Epstein at his New York mansion as late as 2010. Id.

¶ 50.

        Ms. Giuffre, formerly known as Virginia Roberts, publicly revealed that Prince Andrew

had abused her in a motion to join Florida litigation pursuant to the Crime Victims’ Rights Act in

late December 2014. ECF No. 35-9 at 5, 10. A few days later, Prince Andrew sent Maxwell an

email. Compl. ¶ 53. Prince Andrew did not express surprise, and he did not ask Maxwell who the

woman accusing him of sexual abuse was. Rather, Prince Andrew said to Maxwell: “Let me know

when we can talk. Got some specific questions to ask you about Virginia Roberts.” Id.




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       In November 2019, after Epstein’s second arrest and death in federal custody, Prince

Andrew voluntarily sat for an interview with the BBC. Id. ¶ 59. During that interview, Prince

Andrew said that he could not recall ever meeting Ms. Giuffre (id.), a denial so at odds with

photographs and other evidence that it is itself indicative of guilt. Similarly, Prince Andrew later

pledged that he was “willing to help any appropriate law enforcement agency with their

investigations, if required” (id. ¶ 60), but then stonewalled the U.S. authorities investigating

Epstein and his co-conspirators. Id. ¶ 61. Prince Andrew and his counsel have also refused to

cooperate with counsel for the victims of Epstein’s sex trafficking. Counsel for these victims,

including Plaintiff’s counsel, repeatedly asked for a meeting or call with Prince Andrew and/or his

representatives to enable Prince Andrew to provide whatever facts, context, or explanation he

might have, and to explore alternative dispute resolution approaches. Prince Andrew and his

representatives rejected all such requests, and responded by escalating their vile and baseless

attacks on Plaintiff and others. Id. ¶ 62.

       B.      Prince Andrew’s Attacks on Ms. Giuffre’s Character and Credibility

       As part of his attacks on Plaintiff’s credibility, Prince Andrew requests that the Court take

judicial notice of a series of news articles and a draft manuscript, although even he recognizes they

cannot be considered for the truth of the matters asserted therein. ECF No. 35 at 5–7. In support

of his request, Prince Andrew cites securities fraud cases where the issue of notice was critical,

making the fact of publication relevant. See Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d

406, 425 (2d Cir. 2008). Prince Andrew fails to explain how the mere fact that the articles he asks

this Court to recognize were published has any relevance to his motion to dismiss Plaintiff’s

claims. See Bais Yaakov of Spring Valley v. Alloy, Inc., 936 F. Supp. 2d 272, 278 (S.D.N.Y. 2013)

(declining to take judicial notice of news article that was not “relevant apart from its truth”).




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Indeed, Prince Andrew does not cite to any of these articles in his legal argument, and cites them

only in his eleven-page introductory attempt to smear Plaintiff’s credibility and motives.

       If hearsay materials concerning disputed facts were somehow relevant to a motion to

dismiss, there would be much available to disprove Prince Andrew’s current narrative.1 However,

the point, as Defendant’s counsel well knows, is that none of this is relevant to a motion to dismiss.

       C.      Plaintiff’s 2009 and 2020 Settlements with Epstein

       Although Prince Andrew’s allegations about a 2009 “release” are irrelevant at this stage of

the proceedings, we note briefly the kind of context and facts Prince Andrew has omitted.2 In

2009, Ms. Giuffre filed a lawsuit in the Southern District of Florida against Epstein under the Child

Abuse Victims’ Rights Act, the federal statute allowing minor victims to bring civil claims for

predicate federal, sex-trafficking crimes. See ECF No. 35-2 (the “Florida Complaint”). In that

case, Ms. Giuffre alleged Epstein and his co-conspirators committed nine predicate federal

offenses while engaged in operating a sex-trafficking enterprise out of his Palm Beach estate. Id.

¶¶ 33–69. That same year, Epstein and Ms. Giuffre settled the claims in the Florida Complaint.

The settlement agreement


1
  See, e.g., Prince Andrew’s links to Jeffrey Epstein, BBC News (Nov. 16, 2019), available at
https://www.bbc.com/news/uk-49411215; ECF No. 35-9; Prince Andrew & the Epstein Scandal:
The      Newsnight    Interview,     BBC      News     (Nov.    17,   2019),    available     at
https://www.youtube.com/watch?v=QtBS8COhhhM; Wendy Leigh, Prince Andrew’s friend,
Ghislaine Maxwell, some underage girls and a very disturbing story, Daily Mail (Sept. 23, 2007),
available       at    https://www.dailymail.co.uk/femail/article-483401/Prince-Andrews-friend-
Ghislaine-Maxwell-underage-girls-disturbing-story.html; Yaron Steinbuch, Prince Andrew didn’t
‘act royally,’ says ‘sex slave’ ex, Page Six (Jan. 6, 2015), available at
https://pagesix.com/2015/01/06/prince-andrew-didnt-act-royally-says-sex-slave-ex/;         Mark
Landler, After Disastrous Epstein Interview, Prince Andrew Steps Down From Public Duties, N.Y.
Times (Nov. 20, 2019), available at https://www.nytimes.com/2019/11/20/world/europe/prince-
andrew-quits-epstein.html.
2
  We do so not because the actual facts about the release are relevant to Defendant’s motion, but
to illustrate the reason why the law precludes a defendant’s reliance on a release, particularly one
whose validity and applicability is disputed, at this stage in the proceedings.


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                                                    Settlement Agreement & General Release, ECF

No. 32-1 (the “2009 Release”) ¶ 2. Prince Andrew’s name does not appear in the Florida

Complaint                                                                                   there is no

allegation that he committed the predicate federal crimes, and the Florida Complaint made claims

against those who trafficked, not those to whom girls were trafficked.

                                      because he was not subject to personal jurisdiction in Florida.

       In addition to not being a party                     to the Florida action, Prince Andrew was

not a party to the 2009 Release—and the actual parties to that Release made clear at the time and

thereafter that he was not intended to be included in that Release. In fact, in 2020 Ms. Giuffre,

despite the 2009 Release, made claims against Epstein and his Estate for Epstein’s sex trafficking

of her. Epstein’s Estate, recognizing the questionable validity of the 2009 Release even as to

Epstein, entered into a further settlement with a modified release (the “2020 Release,” attached

hereto as Exhibit A) with Plaintiff. That Release, approved by Epstein’s Estate, made clear

that Prince Andrew was not a released party. Ex. A at 4, 8.

                                   III.    LEGAL STANDARD

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S. Ct. 1937, 1954 (2009). “A claim is facially plausible when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Freedman v. Weatherford Int’l Ltd., No. 12 CIV. 2121 LAK, 2013

WL 5299137, at *4 (S.D.N.Y. Sept. 20, 2013) (Kaplan, J.) (quoting Iqbal, 556 U.S. at 678). “The

plausibility standard is not akin to a probability requirement, but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Amusement Indus., Inc. v. Stern, 693 F. Supp.

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2d 301, 305 (S.D.N.Y. 2010) (Kaplan, J.) (quoting Iqbal, 556 U.S. at 678). This “flexible

‘plausibility standard’” is not a heightened pleading standard, In re Elevator Antitrust Litig., 502

F.3d 47, 50 n.3 (2d Cir. 2007), and a complaint “does not need detailed factual allegations” to

survive a motion to dismiss. Twombly, 550 U.S. at 555. Further, in deciding a motion to dismiss,

the Court must make its decision “accepting all factual allegations in the complaint as true and

drawing all reasonable inferences in the plaintiff’s favor.” Kashef v. BNP Paribas S.A., 925 F.3d

53, 58 (2d Cir. 2019).

                                       IV.     ARGUMENT

       A.      The 2009 Release Does Not Warrant Dismissal.

       The 2009 Release between Plaintiff and Epstein does not bar Plaintiff’s claims against

Prince Andrew for several, independent reasons.

               1.        Even if the Court Could Take Notice of the 2009 Release, the Court Could
                         Not Take Judicial Notice of Its Validity and Applicability Where, as Here,
                         They Are Disputed.

       “Because the effect of judicial notice is to deprive a party of the opportunity to use rebuttal

evidence, cross-examination, and argument to attack contrary evidence, caution must be used in

determining that a fact is beyond controversy under Rule 201(b).” Int’l Star Class Yacht Racing

Ass’n v. Tommy Hilfiger U.S.A., Inc., 146 F.3d 66, 70 (2d Cir. 1998); see also Oneida Indian

Nation of New York v. New York, 691 F.2d 1070, 1086 (2d Cir. 1982) (“Judicial notice of a disputed

fact should not ordinarily be taken as the basis for dismissal of a complaint on its face.”).

Settlement agreements may not be noticed when the parties dispute the effect of their provisions

and they are being introduced for the truth of those provisions. See Calcutti v. SBU, Inc., 273

F. Supp. 2d 488, 499 (S.D.N.Y. 2003) (denying request to take judicial notice of release where it

was submitted for its asserted truth—that the plaintiff released claims against a third-party

defendant); see also Doyle v. U.S. Dep’t of Homeland Sec., 331 F. Supp. 3d 27, 42–43 (S.D.N.Y.


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2018), aff’d, 959 F.3d 72 (2d Cir. 2020) (judicial notice of a settlement agreement was improper

when the parties “vehemently disagree as to which facts the Court should glean from the

Settlement Agreement”).

       Here, Prince Andrew asks the Court to take judicial notice of much more than the mere

existence of the 2009 Release—he also asks the Court to take judicial notice of what he claims to

be the truth of the 2009 Release’s contents.3

               2.      The Court Cannot Take Judicial Notice of the 2009 Release Because It Was
                       Not Publicly Filed.

       In analyzing requests to take judicial notice of settlement agreements, courts distinguish

between agreements that are filed on a public docket and those that are not. Compare Traore v.

Police Off. Andrew Ali Shield, No. 14 CIV. 8463 (ER), 2016 WL 316856, at *4 (S.D.N.Y. Jan. 26,

2016) (declining to take judicial notice of release where it “was not filed on the public electronic

docket” in prior action), with Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991) (court

may take judicial notice of public documents filed in other courts), and Deylii v. Novartis Pharms.

Corp., No. 13-CV-06669 NSR, 2014 WL 2757470, at *4 (S.D.N.Y. June 16, 2014) (court could

take judicial notice of settlement agreement filed on public docket). Because the 2009 Release

was not filed on a public docket, the Court may not take judicial notice of it.

       In contending that the 2009 Release is the appropriate subject of judicial notice, Prince

Andrew points only to the fact that the 2009 Release was filed a decade later in a separate case,

Giuffre v. Dershowitz. ECF No. 35 at 3. Even if that later filing were potentially relevant, the



3
  If the Court were to consider the 2009 Release (or any matters outside the pleadings), it would
have to “treat the motion as one for summary judgment under Rule 56,” Fed. R. Civ. P. 12(d),
giving “the parties an opportunity to conduct appropriate discovery and submit the additional
supporting material contemplated by Rule 56.” Chambers v. Time Warner, Inc., 282 F.3d 147,
154 (2d Cir. 2002).



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Release was filed under seal pursuant to a confidentiality agreement, as explained in Prince

Andrew’s motion to file the 2009 Release under seal.4 ECF No. 28. Because the 2009 Release

has been maintained under seal and has never been filed publicly, it is not a “matter of public

record” of which the Court can take judicial notice. See, e.g., Day v. Ryan, No. CV-19-01091-

PHX-JAT (JFM), 2020 WL 3414699, at *5 (D. Ariz. June 19, 2020) (settlement agreement filed

under seal “is neither a Court filing nor a matter of public record of which the Court may take

judicial notice”); MLR Inv. Group, LLC v. Pate Ins. Agency, Inc., 2012 U.S. Dist. LEXIS 179035,

at *4–5 (M.D. Ga. Dec. 19, 2012) (attached hereto as Exhibit B) (declining to take judicial notice

because “agreement is not a matter of public record, as is reflected by the fact Defendant moved

to file it under seal”).

                3.         Even if the Court Could Consider the 2009 Release, Prince Andrew Is Not
                           a Released Party Under the Terms of the Release.

        “Unless a contract is entered into for the direct and substantial benefit of a third party, it

binds and benefits only the parties themselves.” City of Tampa v. Thornton-Tomasetti, P.C., 646

So. 2d 279, 282 (Fla. Dist. Ct. App. 1994).5 “A non-party is the specifically intended beneficiary

only if the contract clearly express[es] an intent to primarily and directly benefit the third party or

a class of persons to which that party belongs.” Morgan Stanley DW Inc. v. Halliday, 873 So. 2d

400, 403 (Fla. Dist. Ct. App. 2004). “To find the requisite intent, it must be established that the

parties to the contract actually and expressly intended to benefit the third party; it is not sufficient

to show only that one of the contracting parties unilaterally intended some benefit to the third



4
   Prince Andrew misrepresents that a “redacted” version of the 2009 Release was filed in
Dershowitz. ECF No. 35 at 3 (citing Letter from Howard M. Cooper to the Honorable Loretta A.
Preska (Sept. 8, 2021), Ex. A, Giuffre v. Dershowitz, No. 19-cv-03377-LAP (ECF No. 335-1)).
The docket entry he cites is not a “redacted” version of the 2009 Release—it is a “filed under seal”
slip sheet.
5
                                                                              . 2009 Release ¶ 7.


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party.” Biscayne Inv. Grp., Ltd. v. Guarantee Mgmt. Servs., Inc., 903 So. 2d 251, 254 (Fla. Dist.

Ct. App. 2005). The terms of the 2009 Release and the Florida Complaint demonstrate that the

parties did not intend for the release to benefit Prince Andrew, and, in any event, any dispute as to

the parties’ intent cannot be resolved on a motion to dismiss.

                         a.     Prince Andrew Could Not Be a Released Party Because He Was Not
                                Subject to Jurisdiction in Florida.

          The 2009 Release, by its terms, encompassed only claims against Epstein



              See 2009 Release ¶ 2.

                     , the Florida court would have needed personal jurisdiction over him under both

the Florida long-arm statute and the minimum contacts requirement of the Due Process Clause.

See, e.g., Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 626 (11th Cir. 1996) (applying

Florida long-arm statute and minimum contacts test); Love v. West, No. 19 CIV. 10799 (ER), 2021

WL 431210, at *3 (S.D.N.Y. Feb. 8, 2021) (applying law of forum state and minimum contacts

test to assess jurisdiction over claims arising under the same statute as the Florida Complaint).

          Under the operative Florida long-arm statute in 2009, a court had personal jurisdiction over

a nonresident defendant only if the defendant “engaged in substantial and not isolated activity

within this state,” Fla. Stat. Ann. § 48.193(2) (2007), or if the cause of action against the defendant

arose from “[o]perating, conducting, engaging in, or carrying on a business or business venture in

this state or having an office or agency in this state” or “[c]ommitting a tortious act within this

state.”    Id. § 48.193(1)(a)-(b).     These provisions would have been “strictly construed.”

Sculptchair, Inc., 94 F.3d at 627. The due process constraints are at least as strict. See Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924–25, 131 S. Ct. 2846, 2853 (2011)

(“[T]he paradigm forum for the exercise of general jurisdiction is the individual’s domicile.”);



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Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1220–22 (11th Cir. 2009) (identifying

constitutional minimum contacts analysis for specific jurisdiction); Vermeulen v. Renault, U.S.A.,

Inc., 985 F.2d 1534, 1546 (11th Cir. 1993) (same).

       None of the facts in the Florida Complaint, the Complaint here, or the exhibits attached to

Prince Andrew’s Request for Judicial Notice show that he was engaged in such substantial activity

in Florida to establish general jurisdiction under § 48.193(2), and it was certainly not his domicile.

Moreover, Plaintiff’s claims against Prince Andrew do not arise from conduct that would have

conferred specific jurisdiction under § 48.193(1). And because Plaintiff’s claims against Prince

Andrew do not arise out of or relate to his contacts with Florida, Ms. Giuffre would have been

unable to show that exercising jurisdiction over Prince Andrew in Florida comported with due

process. Unlike New York or the U.S. Virgin Islands, there is no claim that Prince Andrew abused

Ms. Giuffre in Florida.



            he cannot be an intended third-party beneficiary under the terms of the 2009 Release.

                       b.      Prince Andrew Could Not Be a Released Party Because He Could
                               Not Have Been Included in the Florida Complaint’s Claims.

       The federal claims that the 2009 Release resolved are markedly different from Plaintiff’s

New York tort claims against Prince Andrew. Again,



                                          See 2009 Release ¶ 2.

       In the Florida Complaint, Ms. Giuffre brought claims against Epstein pursuant to the

federal Child Abuse Victims’ Rights Act based on violations of predicate federal crimes. ECF No.

35-2 ¶¶ 33–69. Although the Florida Complaint referenced non-party co-conspirators alleged to

have participated in Epstein’s federal crimes, there is no allegation that Prince Andrew was a



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accident was third-party beneficiary to settlement agreement where release covered others

responsible for accident caused on a specific day at a specific location).

                        c.      Neither Party Intended to Release Prince Andrew.

        Ms. Giuffre never intended to release Prince Andrew in the 2009 Release. Other than his

rank speculation as to Epstein’s mindset when he signed the agreement, Prince Andrew offers no

evidence whatsoever to suggest that Mr. Epstein did either.

        If Epstein had intended, as Price Andrew speculates, for the 2009 Release to broadly cover

“any potential claims Giuffre may have had involving [Epstein’s] sex trafficking enterprise”

(Mem. at 18), the parties could have said so (as the parties in cases cited by Prince Andrew did in

fact do). But they did not. Moreover, just last year, Epstein’s Estate again settled Ms. Giuffre’s

claims against Epstein for sexual abuse and agreed that her claims against Prince Andrew were

specifically preserved, demonstrating that Prince Andrew is simply wrong in his speculation.7 Ex.

A at 4, 8. At the very least, the 2020 Release raises a factual issue as to the parties’ intent that

cannot be resolved on the present record.

        But even if (contrary to fact) Prince Andrew’s interpretation of the 2009 Release were

plausible, Prince Andrew’s argument at most raises factual questions about the parties’ intent that

cannot be resolved at the motion-to-dismiss stage. Indeed, none of the cases Prince Andrew cites

dismissed claims against a third-party beneficiary to a release at the motion to dismiss stage. This

is because the Court cannot resolve any factual disputes as to the parties’ intent on a motion to

dismiss. See, e.g., In re Corp. Res. Servs., Inc., 849 F. App’x 320, 321 (2d Cir. 2021) (“Whether

the signatories to a contract intended the scope of a release of liability to extend to other parties or



7
 We note there is, and could be, no claim that Prince Andrew relied on his interpretation of the
Release such that he would be prejudiced by the revelation of a contrary interpretation; he did not
even know about it.


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claims is a question of fact.”). Nor can the Court resolve any ambiguity in the terms of an

agreement against the non-moving party at the motion to dismiss stage. See Desner v. Educators

Mut. Life Ins. Co., No. CV 13-6154, 2014 WL 4907603, at *3 (E.D.N.Y. Sept. 29, 2014) (“Where

the language of a contract is ambiguous, . . . its construction presents a question of fact, which of

course precludes summary dismissal.” (internal quotation marks omitted)); Neumann v. Brigman,

475 So. 2d 1247, 1249 (Fla. Dist. Ct. App. 1985) (“where provisions of a contract are ambiguous,

the ambiguity must be resolved by the trier of fact”).

          Further, because the invocation of the 2009 Release is an affirmative defense (Fed. R. Civ.

P. 12(c)(1)), the Court may only grant a motion to dismiss based thereon if it is “beyond doubt that

the plaintiff can prove no set of facts in support of his claim that would entitle him to relief.”

United States v. Space Hunters, Inc., 429 F.3d 416, 426 (2d Cir. 2005) (internal quotation marks

omitted).

          Here, without citing any evidence, Prince Andrew spends nearly a page speculating about

what Epstein was thinking when entering into the 2009 Release, and what incentivized him to

include                                 in its terms. Mem. at 18. But Prince Andrew’s speculation

about the 2009 Release is both irrelevant and misleading. Epstein’s intent is plainly a factual issue

that the Court cannot resolve based on Prince Andrew’s ideations.

          The cases Prince Andrew cites illustrate why this Court cannot resolve a dispute over the

parties’ intent here. Prince Andrew’s primary Florida authority, a contract dispute between a

power agency and an electric utility, was decided at summary judgment, and in that case the parties

did not dispute that the intended third-party beneficiary fell within the definition of a “neighboring

entity,” the class of persons the settlement agreement benefited. Fla. Mun. Power Agency v. Fla.

Power & Light Co., 81 F. Supp. 2d 1313, 1325 (M.D. Fla. 1999). In fact, in the majority of Prince




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Andrew’s cited cases, the lower courts examined evidence of the original parties’ intent outside

the four corners of the agreement. See Olsen, 466 So. 2d at 355 (considering “ample evidence

through testimony, letters and memoranda” where plaintiff invoked release); Dean, 336 So. 2d at

394–95 (discussing affidavits submitted by both parties); see also Quarterman v. City of

Jacksonville, 347 So. 2d 1036, 1039 (Fla. Dist. Ct. App. 1977) (“parol evidence should be

permitted to enable a plaintiff to demonstrate that a stranger to the release, expressed in general

terms, was not intended by the parties to the release to be affected thereby”). And the remainder

of Prince Andrew’s Florida authorities were cases in which a plaintiff sought to bring a breach of

contract claim based on a contract to which it was an intended third-party beneficiary. M-I LLC

v. Util. Directional Drilling, Inc., 872 So. 2d 403, 404–05 (Fla. Dist. Ct. App. 2004); Technicable

Video Sys., Inc. v. Americable of Greater Mia., Ltd., 479 So. 2d 810, 811 (Fla. Dist. Ct. App.

1985).8 Accordingly, those cases are inapposite in determining whether Prince Andrew is entitled

to enforce the terms of the 2009 Release to dismiss Plaintiff’s claims at this stage of the litigation.

The parties have not yet developed the factual record here, and a finding that the parties intended

for the 2009 Release to cover Plaintiff’s claims against Prince Andrew would be premature and,

as discovery will show, incorrect.

                       d.      The 2020 Settlement Constitutes Modification and/or Abandonment
                               of the 2009 Release.

       Even if the 2009 Release might otherwise have released claims against Prince Andrew and


8
  Prince Andrew’s New York authorities are irrelevant because
                          Mem. at 16–17. But those cases are also inapposite because they too
(1) were decided at the summary judgment stage or a motion to dismiss based upon documentary
evidence pursuant to N.Y. C.P.L.R. 3211(a)(1); and (2) involved a plaintiff attempting to enforce
an agreement to which it was not a party, not a defendant contending that a plaintiff’s claims should
be dismissed based on a settlement agreement to which the defendant was not a party. Encore
Lake Grove Homeowners Ass’n v. Cashin Assocs., 111 A.D.3d 881, 882 (N.Y. App. Div. 2013);
Logan-Baldwin v. L.S.M. Gen. Contractors, Inc., 94 A.D.3d 1466, 1468 (N.Y. App. Div. 2012);
Van Vleet v. Rhulen Agency Inc., 180 A.D.2d 846, 848–49 (N.Y. App. Div. 1992).


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given him standing to enforce its terms, Ms. Giuffre’s 2020 settlement with Epstein’s Estate

establishes that the parties acknowledged the invalidity of the 2009 Release and/or intended to

modify or abandon its terms. The “parties to a contract can discharge or modify the contract,

however made or evidenced, through a subsequent agreement” or through “subsequent conduct.”

St. Joe Corp. v. McIver, 875 So. 2d 375, 381–82 (Fla. 2004). Abandonment of a contract “may be

proved by showing that the acts of one party are inconsistent with the existence of the contract and

that the other party acquiesced in those acts.” Painter v. Painter, 823 So. 2d 268, 270 (Fla. Dist.

Ct. App. 2002). Whether a contract has been modified or abandoned are questions of fact. St. Joe

Corp., 875 So. 2d at 382 (modification); Wales v. Wales, 422 So. 2d 1066, 1067 (Fla. Dist. Ct.

App. 1982) (abandonment).

       Despite Plaintiff’s 2009 settlement with Epstein, in 2020 Epstein’s Estate again settled

Plaintiff’s claims against Epstein, incorporated by reference her 2009 payment, and approved a

new release expressly preserving her claims against Prince Andrew. Although the relevance and

legal import of the 2020 Release are not issues to be resolved on this motion to dismiss, this

subsequent Release underscores that factual issues remain to be litigated and the Court cannot

dismiss Plaintiff’s claims based on the 2009 Release at this juncture.

       Finally, as to the filings in the Dershowitz matter of which Prince Andrew asks the Court

to take judicial notice, Plaintiff does not object to the Court taking judicial notice of the existence

of those filings. ECF No. 35 at 4–5. But, again, Prince Andrew asks the Court to go several steps

further and somehow infer that Plaintiff stipulated to dismissal of one of her claims because she

was unable “to avoid the legal effect of” the 2009 Release, and “conced[ed]” that the 2009 Release

barred that claim. Mem. at 4, 10. Prince Andrew’s contention is contrary to law. See Calcutti,

273 F. Supp. 2d at 499 (courts cannot take judicial notice of documents for the truth of the contents




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therein). It also is contrary to the express language of the parties’ dismissal.9

       B.      Plaintiff Has Sufficiently Alleged Battery and Intentional Infliction of Emotional
               Distress Claims Against Prince Andrew.

       Prince Andrew’s motion to dismiss based on failure to state a claim is meritless. Plaintiff’s

factual allegations that Prince Andrew touched her and engaged in sex acts with her without her

consent easily satisfy Rule 8 as to her claims for battery and intentional infliction of emotional

distress (“IIED”). Further, although it is Prince Andrew’s burden to establish that Plaintiff’s

claims are untimely because they do not fall within the CVA, his actions as alleged in the

Complaint constitute one or more sex offense under the New York Penal Law, meaning that the

CVA has revived Plaintiff’s claims against him.

               1.      Prince Andrew Misstates the Applicable Pleading Standard and Ignores the
                       Allegations of the Complaint.

       Prince Andrew erroneously contends that, in order to benefit from the CVA’s revival

window, Plaintiff must plead with specificity which provision of Article 130 of the New York

Penal Code Prince Andrew violated and how she intends to prove each element of the code’s sex

offenses, including with details such as which parts of Plaintiff’s body Prince Andrew touched,

which of his body parts he used to do so, in which room of Epstein’s mansion the sex acts occurred,

and whether there were any witnesses. Mem. at 22. Prince Andrew does not cite a single authority

for this made-up pleading standard, and the Court should reject this assertion for two reasons.

       First, Prince Andrew’s pleading demands are wholly inconsistent with Rule 8, a Rule he

fails to cite. Prince Andrew essentially asks this court to adopt a heightened pleading standard

whereby sexual battery claims must be dismissed unless the plaintiff recounts every detail


9
  The text of the stipulated voluntary dismissal itself provided: “This stipulation is the result of a
compromise and shall not at any time, or for any purpose, be construed as an admission by either
party of the validity or invalidity of Plaintiff’s battery claim or Defendant’s release defense, or the
truth or falsity of the factual predicates thereto.” ECF No. 35-8 ¶ 4.


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surrounding the abuse—in this case, which of her body parts he touched, which of his body parts

he used to touch her, who watched him do it, and in what rooms of Epstein’s mansion he

perpetrated this abuse. See id. Prince Andrew does not cite a single case requiring such specificity

in pleading tort claims.

       Nor does the law support his position. Under Rule 8(a)(2), all that is required at the

pleading stage is “a short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). “Specific facts are not necessary” and the complainant “need only

‘give the defendant fair notice of what the . . . claim is and the grounds upon which it rests.’”

Erickson, 551 U.S. at 93 (quoting Twombly, 550 U.S. at 555). For this reason, courts have denied

motions to dismiss that demand a detailed account of the sexual abuse alleged. See, e.g., NYS Off.

of Child. & Fam. Servs., 2021 WL 2826457, at *10; Indyke, 465 F. Supp. 3d at 465.

       The pleading standard for which Prince Andrew advocates is more akin to the heightened

pleading standard of Rule 9(b), which requires a plaintiff to allege “the who, what, where, when

and why” of the claim. Jovel v. i-Health, Inc., No. 12-CV-5614, 2013 WL 5437065, at *11

(E.D.N.Y. Sept. 27, 2013). But Rule 9(b) does not apply, and Rule 8(a) “does not require ‘detailed

factual allegations’ or ‘heightened fact pleading of specifics.’” Comfort Inn Oceanside v. Hertz

Corp., No. 11-CV-1534 JG JMA, 2011 WL 5238658, at *6 (E.D.N.Y. Nov. 1, 2011) (quoting

Twombly, 550 U.S. at 555, 570). Prince Andrew also demands specific allegations about Plaintiff’s

mental state, calling her allegations that she did not consent to forced sex acts with a 40-year old

prince when she was a 17-year-old victim of a sex-trafficking operation “conclusory.” Mem. at

21–23. But even Rule 9(b) permits “[m]alice, intent, knowledge, and other conditions of a person’s

mind” to be “alleged generally.” Fed. R. Civ. P. 9(b). And again, Prince Andrew does not cite a




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single authority for his argument that Plaintiff’s allegation that she “did not consent to engaging

in sexual acts with Prince Andrew” is “conclusory” and insufficient under Rule 8. Compl. ¶ 44.

       Second, Prince Andrew’s argument is based on a mischaracterization of what Plaintiff’s

claims are and what she accordingly must allege to meet the pleading standard. Plaintiff’s claims

are for battery and IIED. Contrary to Prince Andrew’s argument that Plaintiff “fails to state a

claim” because “she has not adequately alleged a violation of the New York Penal Code,” whether

Prince Andrew’s conduct violated the Penal Code is not an element of either of Plaintiff’s claims.

Mem. at 19. Rather, whether Prince Andrew’s conduct violated Article 130 pertains to whether

the CVA—a claims revival statute that creates no independent cause of action—revives her claims,

and thus whether they are timely. See Giuffre v. Dershowitz, No. 19 CIV. 3377 (LAP), 2020 WL

2123214, at *2 (S.D.N.Y. Apr. 8, 2020) (the CVA “creates no cause of action, and the CVA itself

does not provide for ‘proof’ of anything because it in no way regulates conduct. . . . Instead, the

CVA’s incorporation of the language from the Penal Code is merely a guidepost for determining

which claims may be revived”). Accordingly, Plaintiff need not “plead and prove” any violation

of Article 130 to survive a motion to dismiss. Mem. at 22.

       Statute of limitations defenses are affirmative defenses, and Prince Andrew thus bears the

burden of proving that Plaintiff’s claims are untimely. Childers v. New York & Presbyterian

Hosp., 36 F. Supp. 3d 292, 301 (S.D.N.Y. 2014). “[A] complaint does not need to anticipate

potential affirmative defenses, such as the statute of limitations, and to affirmatively plead facts in

avoidance of such defenses.” Id. at 315 (internal quotation marks omitted). Accordingly, a motion

to dismiss based on timeliness “should not be granted unless it appears beyond doubt that the

plaintiff can prove no set of facts in support of his claim which would entitle him to relief.” Ortiz

v. Cornetta, 867 F.2d 146, 148 (2d Cir. 1989) (internal quotation marks omitted) (emphasis in




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original); see also Harris v. City of New York, 186 F.3d 243, 250 (2d Cir. 1999) (“dismissal is

appropriate only if a complaint clearly shows the claim is out of time”).

       Thus, Plaintiff was only required to allege facts to support her claims for battery and IIED.

She need not plead precisely which provision of Article 130 Prince Andrew’s conduct violated

and how in order to survive a motion to dismiss. In Doe v. Baram, for example, the plaintiff did

not cite any specific provisions of Article 130 in the complaint. No. 20 CIV. 9522 (ER), 2021 WL

4847076, at *4 (S.D.N.Y. Oct. 15, 2021). The court denied the defendant’s motion to dismiss

based on timeliness because the plaintiff “alleged conduct that, if proven, could constitute a sexual

offense under N.Y. Penal Law § 130.” Id. (emphasis added).10

               2.      Plaintiff Has Sufficiently Stated Claims for Battery and Intentional
                       Infliction of Emotional Distress.

       Although Prince Andrew never directly contends that Plaintiff has failed to state claims for

battery and IIED, she has clearly sufficiently done so. To establish a battery claim, a plaintiff must

demonstrate “that there was bodily contact, that the contact was offensive, and that the defendant

intended to make the contact without the plaintiff’s consent.” Bastein v. Sotto, 299 A.D.2d 432,

433 (N.Y. App. Div. 2002). IIED has four elements: “(1) extreme and outrageous conduct;

(2) intent to cause, or disregard of a substantial probability of causing, severe emotional distress;

(3) a causal connection between the conduct and injury; and (4) severe emotional distress.”

McGrath v. Dominican Coll. of Blauvelt, New York, 672 F. Supp. 2d 477, 492 (S.D.N.Y. 2009)

(internal quotation marks omitted).

       Plaintiff has stated a claim for battery. She has alleged, among other things, that she was

forced to sit on Prince Andrew’s lap while he touched her and that he forced her to engage in sex



10
  Even if the CVA were not applicable, issues relating to equitable tolling would make a timeliness
defense inappropriate for resolution at the motion to dismiss stage.


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acts with him (Compl. ¶ 39), supporting at the very least a plausible inference of offensive bodily

contact. See, e.g., Doe v. Alsaud, 224 F. Supp. 3d 286, 294 (S.D.N.Y. 2016) (allegations of forcible

assault, rape, and sodomy established elements of battery). Any nonconsensual, offensive bodily

touching, regardless of the body part touched, amounts to battery. See United Nat’l. Ins. Co. v.

Waterfront New York Realty Corp., 994 F.2d 105, 108 (2d Cir. 1993) (“the common meanings of

‘assault’ and ‘battery’ subsume all forms of tortious menacing and unwanted touching”). Further,

Plaintiff alleged that she did not consent to any bodily contact, which is sufficient to state a claim

for battery. See Compl. ¶ 44; Wait v. Beck’s N. Am., Inc., 241 F. Supp. 2d 172, 186 (N.D.N.Y.

2003) (battery claim stated where complaint alleged “that plaintiff did not consent to this contact”).

        Plaintiff has also stated a claim of IIED. She alleges that Prince Andrew forced her to

engage in sex acts without her consent and abused another victim in front of her, all while knowing

she was underage and that she was a sex-trafficking victim. Compl. ¶¶ 39, 42–46, 71. Especially

considering the power and influence that Prince Andrew holds, he cannot contend that such

conduct is not extreme and outrageous. See, e.g., Farrell v. United States Olympic & Paralympic

Comm., No. 120CV1178FJSCFH, 2021 WL 4820251, at *9 (N.D.N.Y. Oct. 15, 2021) (allegations

that “an internationally known and ranked speedskater and Olympian, targeted her to be a victim

for his sexual depravities” and used his position of power to abuse her stated IIED claim); Wait,

241 F. Supp. 2d at 181 (allegations of “a continuing course of sexual harassment, unwanted

touching, . . . and other conduct” stated claim for IIED). Plaintiff also alleges that Prince Andrew’s

conduct caused her significant emotional harm. Compl. ¶ 48. Plaintiff’s allegations are thus more

than sufficient to state an IIED claim. Accordingly, Plaintiff has stated claims for battery and

IIED.




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        Prince Andrew’s arguments to the contrary rely on a series of misplaced citations to

Iqbal—the only authority Prince Andrew cites in contending that Plaintiff’s allegations are not

sufficiently detailed. In Iqbal, the plaintiff brought a civil rights action alleging that, after

September 11, 2001, the FBI “arrested and detained thousands of Arab and Muslim men” on the

basis of their race, religion, or national origin, and as a result, the plaintiff was unlawfully confined

and subjected to harsh treatment. 556 U.S. at 680–81. The Court held that, for the plaintiff to

prevail on his Bivens claim, he had to allege “sufficient factual matter to show that petitioners

adopted and implemented” the policies at issue “for the purpose of discrimination” based on

protected characteristics. Id. at 677. The complaint contained no factual allegations that would

have “nudged [these] claims” of invidious discrimination “across the line from conceivable to

plausible.” Id. at 680.

        Ignoring the actual dictates of Iqbal, Prince Andrew nowhere identifies the elements of a

claim of battery or IIED before contending that Plaintiff’s allegations are mere “legal conclusions.”

Prince Andrew asserts that the Court must discount Plaintiff’s allegations that Prince Andrew

forced her to engage in sex acts against her will, and—with Epstein and Maxwell—caused her to

fear for her safety because Iqbal held that the Court need not accept legal conclusions as true.

Mem. at 21, 23; Compl. ¶¶ 39, 40, 41, 44. But he does not explain how Plaintiff’s allegations are

legal conclusions rather than factual allegations, or how the Complaint is in any way comparable

to the factually deficient complaint in Iqbal. At this stage, Plaintiff’s factual allegations that Prince

Andrew forced her to engage in sex acts against her will support a more than plausible inference

that Prince Andrew committed battery and IIED. See Canosa v. Ziff, No. 18 CIV. 4115 (PAE),

2019 WL 498865, at *2, *7–8, *27 (S.D.N.Y. Jan. 28, 2019) (denying motion to dismiss plaintiff’s




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claims of battery, assault, and IIED where plaintiff alleged defendant “sexually assaulted her at

the Four Seasons Hotel”).

               3.      Prince Andrew’s Actions Constitute One or More Sex Offenses Under the
                       New York Penal Code.

       Although it is not Plaintiff’s burden to allege facts supporting the elements of any sex

offense under Article 130 of the New York Penal Law, Plaintiff has alleged facts demonstrating

that Prince Andrew’s conduct would constitute such sex offenses. For Plaintiff’s claim to be timely

under the CVA, Prince Andrew’s conduct need only amount to one such sex offense. See N.Y.

C.P.L.R. 214-g. Plaintiff has sufficiently alleged acts that would constitute, at a minimum, forcible

touching and third degree sexual abuse. The elements of third degree sexual abuse are sexual

contact without consent, where sexual contact is defined as “any touching of the sexual or other

intimate parts of a person for the purpose of gratifying sexual desire of either party.” N.Y. Penal

Law §§ 130.00, 130.55. A defendant commits forcible touching when, without consent, he

intentionally touches the sexual or other intimate parts of the victim for the purpose of abusing or

gratifying sexual desire. Id. §§ 130.05, 130.52.

        Here, Plaintiff alleged that Prince Andrew “sexually abused Plaintiff in Epstein’s New

York mansion” and that “[d]uring his visit to New York, Prince Andrew forced Plaintiff to engage

in sex acts against her will.” Compl. ¶ 39. She also alleged that “Maxwell forced Plaintiff, a child,

and another victim to sit on Prince Andrew’s lap as Prince Andrew touched her.” Id. She stated

that Prince Andrew had forced himself upon Plaintiff once before, and that he did so again after

this incident (id. ¶¶ 36–38, 40), and “[d]uring each of the aforementioned incidents, Plaintiff did

not consent to engaging in sexual acts with Prince Andrew.” Id. ¶ 44. These allegations are plainly

sufficient to raise a plausible inference that Prince Andrew engaged in acts that would constitute,

at the very least, sexual abuse in the third degree and/or forcible touching.



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       Prince Andrew cites only one case in arguing what does and does not qualify as an offense

under Article 130, but that case does not address either of these offenses. Mem. at 23 (citing

People v. Orda, 690 N.Y.S.2d 822, 825 (N.Y. Sup. Ct. 1999)). His citations to the statute are

equally unavailing. Prince Andrew argues that Plaintiff has not alleged that Prince Andrew’s

conduct amounted to sexual abuse or forcible touching because Plaintiff did not describe “where

he allegedly touched her or how.” See Mem. at 21 (citing N.Y. Penal Law §§ 130.52 (forcible

touching); 130.55 (sexual abuse third)). But Plaintiff’s allegation that Prince Andrew forced her

to engage in sex acts is plainly sufficient. Compl. ¶ 30. Non-consensual touching under Article

130 is not limited to a specific body part. See People v. Sene, 887 N.Y.S.2d 8, 9 (N.Y. App. Div.

2009) (“since intimacy is a function of behavior and not merely anatomy, the manner and

circumstances of the touching should also be considered” and finding touching of neck to be sexual

contact of “intimate parts” (internal quotation marks omitted)). Nor does either provision require

a particular kind of touching. See People v. Guaman, 8 N.E.3d 324, 328 (N.Y. 2014) (“any bodily

contact involving the application of some level of pressure to the victim’s sexual or intimate parts

qualifies as a forcible touch”); People v. Johnson, 477 N.Y.S.2d 67, 68 (N.Y. App. Div. 1984)

(“sexual contact does not require touching with hands”).

       Plaintiff has also sufficiently alleged that she did not consent to the acts of sexual abuse to

which Prince Andrew subjected her. Lack of consent may result from (a) forcible compulsion,

(b) incapacity to consent, or (c) for the offenses of sexual abuse or forcible touching, “any [other]

circumstances . . . in which the victim does not expressly or impliedly acquiesce in the actor’s

conduct.” N.Y. Penal Law § 130.05(2). Prince Andrew concedes, as he must, that forcible

compulsion may be established through implied or express threats that place a person in fear of

immediate death or physical injury. Mem. at 22–23 (citing N.Y. Penal Law § 130.00(8)). But he




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misunderstands that Plaintiff need not “plead and prove forcible compulsion”—or any other

circumstances vitiating consent—on a motion to dismiss. Id. at 22 (emphasis in original). Instead,

the language he cites from Iqbal refers to the ultimate burden of proof when a plaintiff sues a

public official for unconstitutional conduct. See Iqbal, 556 U.S. at 676 (“Where the claim is

invidious discrimination in contravention of the First and Fifth Amendments, our decisions make

clear that the plaintiff must plead and prove that the defendant acted with discriminatory

purpose.”).

       On this motion to dismiss, the allegations in the Complaint need only “allow the court to

draw the reasonable inference that the defendant is liable,” including because Plaintiff did not

consent to the sex acts Prince Andrew forced upon her. Id. at 678 (citation omitted). Plaintiff

alleged that Epstein, Maxwell, and Prince Andrew’s “powerful connections, wealth, and authority”

caused Plaintiff to fear “death or physical injury” for disobeying their express or implied threats.

Compl. ¶ 41. Prince Andrew cites no authority holding that such allegations do not plausibly

allege forcible compulsion by threats. Mem. at 23 (citing Compl. ¶ 41). Whether Plaintiff did in

fact fear immediate injury is a question to be resolved by the trier of fact.

       Further, as Prince Andrew again concedes, lack of consent for the crimes of sexual abuse

or forcible touching may be established by “any circumstances in which the victim does not

expressly or impliedly acquiesce.” N.Y. Penal Law § 130.05(2)(c). In a footnote, Prince Andrew

states only that Plaintiff “does not rely on” this or § 130.05(2)(d)’s “alternative methods for

establishing the element of lack of consent.” Mem. at 22 n.10. But the facts as pled contradict his

statement. Plaintiff alleged that she was the victim of sex trafficking at the hands of Epstein and

Maxwell (Compl. ¶¶ 24–29), and that Prince Andrew knew that Plaintiff “was a sex-trafficking

victim being forced to engage in sexual acts with him” (id. ¶ 43), but nonetheless forced sex acts




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upon her against her will. Id. ¶¶ 44–45. Under these circumstances, Plaintiff has pled facts

demonstrating that she did not acquiesce to having sexual contact with Prince Andrew. See People

v. D’Alessio, 802 N.Y.S.2d 828, 829 (N.Y. App. Div. 2005) (evidence sufficient to establish lack

of consent under § 130.55 when “stunned” and “frightened” victim, although making no outcry

and remaining on massage table while defendant touched her, eventually moved away).11

       Prince Andrew also argues that Plaintiff’s claims fail because she did not describe how she

was forced to engage in sex acts with him. Mem. at 21. But forcible touching and sexual abuse

in the third degree do not require forcible compulsion at all. See N.Y. Penal Law § 130.52 (no

force element), § 130.55 (no force element); People v. Lewis, 156 A.D.3d 1431, 1432 (N.Y. 2017)

(noting that forcible compulsion is not an element of forcible touching).

       And even for those sex offenses that do require forcible compulsion, Prince Andrew’s

definition of forcible compulsion finds no support in the case law. “[F]orcible compulsion is not

synonymous with violence” and does not require physical injury. People v. Hartle, 159 A.D.3d

1149, 1152 (N.Y. App. Div. 2018). Instead, forcible compulsion can occur when the defendant

manipulates age and power imbalances. See id. (forcible compulsion element met considering

“the young age of the victim, her relative size and strength compared to the adult defendant,

defendant’s close relationship to the victim and position of trust and authority” and “the victim’s

state of mind”); see also People v. Sehn, 295 A.D.2d 749, 751 (N.Y. App. Div. 2002) (forcible

compulsion supported by defendant’s “extreme advantage in maturity, size and strength, the fact

that the victims were isolated—in fact, locked—in an apartment with defendant and considered




11
  Prince Andrew’s citation to Holloway v. Holy See, No. 19 CIV. 2195 (NRB), 2021 WL 1791456,
at *2 (S.D.N.Y. May 5, 2021) is misplaced, as the plaintiff in that case did not allege that any
conduct occurred in New York. That is clearly not the case here, where Plaintiff has alleged that
Prince Andrew abused her in New York. Compl. ¶ 39.


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him to be an authority figure whom they obeyed, trusted and viewed as an uncle”). Prince

Andrew’s sole New York authority recognizes this basis for finding forcible compulsion, noting

that this element “‘can be established by evidence that the defendant used his superior age, size

and strength to prevent the victim from escaping, and to compel [the victim] to have sex[] . . . with

him.’” Orda, 690 N.Y.S.2d at 825 (alterations in original).

       In addressing the sufficiency of Plaintiff’s claims, the Court need not determine whether

the facts in the Complaint would satisfy the burden of proving these sex offenses at a criminal trial.

It is sufficient that, in the Complaint, Plaintiff has alleged facts to support her claims of battery

and IIED. Prince Andrew has failed to establish that his conduct as alleged in the Complaint

cannot constitute sexual offenses under Article 130, and thus that Plaintiff’s claims are not timely

under the CVA.

       C.        Plaintiff’s Intentional Infliction of Emotional Distress Claim is Not Duplicative of
                 Her Battery Claim.

       Plaintiff’s two claims are not duplicative of each other. A plaintiff “may plead claims that

provide alternative bases for relief,” and “a claim is alternative and not duplicative if a plaintiff

may fail on one but still prevail on the other.” In re Skat Tax Refund Scheme Litig., 356 F. Supp.

3d 300, 325 (S.D.N.Y. 2019); see also Fed. R. Civ. P. 8(d)(2). Further, where there is underlying

conduct supporting an IIED claim that does not completely overlap with the conduct underlying

other tort claims, the claims are not duplicative. See Rentas v. Ruffin, 816 F.3d 214, 227 (2d Cir.

2016). In New York cases involving sexual abuse, battery claims are routinely brought alongside

IIED claims.12


12
   See, e.g., Canosa, 2019 WL 498865, at *27 (sustaining claims for battery, assault, IIED, and
sexual assault on motion to dismiss); Alsaud, 224 F. Supp. 3d at 295 (summary judgment for
plaintiff on assault, battery, and IIED claims in rape case); Laurie Marie M. v. Jeffrey T.M., 159
A.D.2d 52, 53 (N.Y. App. Div. 1990), aff’d, 575 N.E.2d 393 (N.Y. 1991) (granting judgment as a



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       Plaintiff’s claims are not duplicative because they do not entirely arise from the same facts.

Plaintiff’s IIED claim involves some allegations that are the same and some allegations that are

different from the battery allegations. In some cases, the emotional distress claim requires more,

in some cases less, than the nonconsensual bodily contact that would amount to battery. After her

abuse, Prince Andrew was one of the many powerful connections Epstein used to intimidate

Plaintiff and keep her compliant, and he then publicly undermined the years of abuse she

experienced. Compl. ¶¶ 17, 21, 41, 59, 71. See Roelcke v. Zip Aviation, LCC, No. 15 CIV. 6284

(DAB), 2018 WL 1792374, at *13 (S.D.N.Y. Mar. 26, 2018) (refusing to dismiss IIED claim as

duplicative of battery claim where “Plaintiff has set forward additional allegations . . . that were

part of the same campaign of harassment and intimidation”); Schoolcraft v. City of New York, 103

F. Supp. 3d 465, 521 (S.D.N.Y. 2015) (IIED claims not duplicative if “substantiating conduct

differs from those of other causes of action”). Further, Prince Andrew abused other victims in

front of Plaintiff, such as when he touched another victim in front of her while they were both

forced to sit on Prince Andrew’s lap, independently causing Plaintiff distress. Compl. ¶ 39; see

B.K. v. Kelley, No. 15–P–892, 2016 WL 3201116, at *3 n.7 (Mass. App. Ct. 2016) (damages for

battery and IIED not duplicative when, in addition to sexually abusing daughters, defendant

committed distinct acts, such as exposing himself to them).

       Plaintiff’s claims also do not seek identical damages. Each claim seeks damages in an

amount to be determined at trial, but the damages awards for each claim will not overlap. See

McGrath, 672 F. Supp. 2d at 492 (declining to dismiss IIED claim as duplicative because it was




matter of law on battery claim and allowing IIED claim to proceed to trial in childhood sexual
abuse case); Deborah S. v. Diorio, 583 N.Y.S.2d 872, 874 (N.Y. Civ. Ct. 1992), aff’d as modified,
612 N.Y.S.2d 542 (N.Y. App. Term 1994) (summary judgment for plaintiff on claims of assault,
battery, and IIED in rape case).


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“uncertain” whether damages for IIED would overlap with damages for other claims). Plaintiff’s

injuries for both claims are not identical—her injuries from battery relate to trauma caused by

nonconsensual sex acts with Prince Andrew, while her injuries from IIED more broadly relate to

trauma caused by Prince Andrew knowingly benefiting from the sex-trafficking scheme in which

she was trapped. Thus, Plaintiff’s claims are not duplicative and are distinguishable from those in

the cases Prince Andrew cites, where the facts underlying both claims were identical and the

plaintiff sought identical remedies. Mem. at 24.

        D.         The Child Victims Act is Constitutional.

        Prince Andrew’s challenge to the CVA’s constitutionality is meritless. Prince Andrew

contends that the CVA violates his due process rights under the New York Constitution because

claim-revival statutes are an “exceptional remedy” valid only when a “plaintiff could not have

brought an action in a timely manner.” Mem. at 25. This argument relies on outdated law. In the

past, “New York courts have looked upon claim-revival provisions skeptically, only upholding

them in circumstances where a given plaintiff could not have brought an action in

a timely manner.” Dershowitz, 2020 WL 2123214, at *2. “Unfortunately for [Defendant], the

New York Courts’ historical skepticism of claim-revival provisions appears to be just that:

historical.” Id.

        In response to a question certified by the Second Circuit, the New York Court of Appeals

recently held that a claim-revival statute will “not run afoul of New York’s due process clause if

it merely ‘was a reasonable measure to address an injustice.’” Id. (citing In re World Trade Ctr.

Lower Manhattan Disaster Site Litig., 89 N.E.3d 1227, 1243 (N.Y. 2017)); see also In re World

Trade Ctr. Lower Manhattan Disaster Site Litig., 846 F.3d 58, 70 (2d Cir. 2017) (certifying

question about standard governing “the merits of a due process challenge under the New York

State Constitution to a claim-revival statute”). In doing so, the Court of Appeals explicitly rejected


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the higher standard for constitutionality used by the court in a case that Prince Andrew cites as

authoritative, In re World Trade Ctr. Lower Manhattan Disaster Site Litig., 66 F. Supp. 3d 466,

476 (S.D.N.Y. 2014), and instead adopted the “reasonableness” standard. In re World Trade Ctr.

Lower Manhattan Disaster Site Litig., 89 N.E.3d at 1243. Prince Andrew’s argument that

claim-revival provisions are constitutional only when the plaintiff could not have otherwise

brought a timely claim is therefore not the law in New York. Mem. at 25; see also PC-41 Doe v.

Poly Prep Country Day Sch., No. 20CV03628 (DG) (SJB), 2021 WL 4310891, at *6 (E.D.N.Y.

Sept. 22, 2021) (“Defendants’ urging that there be a rigid requirement of a ‘total and practical

inability to bring a timely claim’ by plaintiffs for a claim-revival statute to pass constitutional

muster is inconsistent with the approach taken by the Court of Appeals in claim-revival cases.”);

Dershowitz, 2020 WL 2123214, at *2 (rejecting argument that New York courts have only upheld

claim-revival provisions where plaintiff could not have brought a timely action).

       The CVA’s revival window was a reasonable measure to address an ongoing injustice. In

passing the CVA, the New York Legislature highlighted that “New York is one of the worst states

in the nation for survivors of child sexual abuse,” and that “thousands of survivors are unable to

sue or press charges against their abusers, who remain hidden from law enforcement and pose a

persistent threat to public safety” because of New York’s “restrictive” statute of limitations. N.Y.

Comm. Rep., 2019 S.B. 2440. Having identified the grave injustices faced by victims of child

abuse, New York revived previously expired claims. As to reasonableness, the legislature stressed

that the age at which most survivors report or come to terms with their abuse “has been estimated

to be as high as 52 years old on average,” and that child abusers pose a “persistent threat to public

safety.” Id. Thus, given the time it takes child victims to come to terms with their abuse, the CVA

was a reasonable measure to address an injustice and is constitutional.




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       Accordingly, each of the New York State and U.S. courts that have addressed the

constitutionality of the CVA have held that it was a reasonable response to remedy an injustice

and does not violate the Due Process provision of the New York State Constitution. Farrell, 2021

WL 4820251, at *8; PC-41 Doe, 2021 WL 4310891, at *7; PB-36 Doe v. Niagara Falls City Sch.

Dist., 152 N.Y.S.3d 242, 248 (N.Y. Sup. Ct. 2021); Torrey v. Portville Cent. Sch., No. 88476, 2020

WL 856432, at *4 (N.Y. Sup. Ct. Feb. 21, 2020); ARK3 Doe v. Diocese of Rockville Ctr., No.

900010/2019, 2020 N.Y. Misc. LEXIS 1964, at *15 (N.Y. Sup. Ct. May 11, 2020) (attached hereto

as Exhibit C); see also Dershowitz, 2020 WL 2123214, at *2 (holding that CVA does not violate

Due Process Clause of the Fifth Amendment of the United States Constitution). Prince Andrew

provides no reason why this Court should not find these cases to be persuasive authority or why it

should reach a different conclusion than all of the courts that have thus far addressed the issue.

       Prince Andrew’s citation to Zumpano v. Quinn, 849 N.E.2d 926 (N.Y. 2006), only supports

the conclusion that the CVA governs here. Mem. at 26. In Zumpano, the plaintiffs sought to

invoke the common law doctrine of equitable estoppel to revive their time-barred sexual abuse

claims. Zumpano, 849 N.E.2d at 927. Zumpano thus did not address the constitutionality of any

claims revival statute. Id. The Court of Appeals pointed to the fact that the plaintiffs were able to

bring timely claims but, under New York law, equitable estoppel requires “plaintiffs to establish

that subsequent and specific actions by defendants somehow kept them from timely bringing suit.”

Id. at 929. As explained above, the constitutionality of a claims revival statute does not depend

on whether the plaintiff could have brought a timely claim. Thus, “the Zumpano court’s conclusion

that sexual abuse victims could have timely brought claims does not render the CVA

unconstitutional.” PC-41 Doe, 2021 WL 4310891, at *7. And, notably, the Court of Appeals in

Zumpano specifically stated that “[a]ny exception to be made to allow these types of claims to




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proceed outside of the applicable statutes of limitations would be for the Legislature,” citing

claim-revival statutes enacted for childhood abuse actions in California and Connecticut. Id. at

931–32 & n.4 (emphasis added). The New York Legislature subsequently enacted precisely such

an exception: the CVA.

       Finally, Prince Andrew argues that the extension of the CVA’s claim-revival window to

two years in light of court closures caused by COVID-19, see 2020 N.Y. Sess. Laws ch. 130, § 1,

is itself unconstitutional. But Prince Andrew cites no authority for his proposition that adding one

year to the window due to a pandemic was not a reasonable response to remedy an injustice, and

the only court to consider this specific issue has expressly rejected Prince Andrew’s argument.

PC-41 Doe, 2021 WL 4310891, at *9 (“The additional time does not run afoul of the New York

Due Process Clause.”). And his contention that courts have found only one-year revival windows

constitutional is simply incorrect. See Sweener v. Saint-Gobain Performance Plastics Corp., No.

17-CV-00532 (LEK/DJS), 2018 WL 748742, at *8 (N.D.N.Y. Feb. 7, 2018) (three-year revival

statute reasonable under New York Constitution).13 Prince Andrew’s constitutional challenge to

the CVA’s claim-revival window must fail.

       E.      Prince Andrew is Not Entitled to a More Definite Statement.

       Prince Andrew is not entitled to a more definite statement pursuant to Rule 12(e). A motion

pursuant to Rule 12(e) should not be granted “unless the complaint is so excessively vague and


13
   In a footnote, Prince Andrew contends that the extension of the CVA’s revival window is
“particularly problematic” in this case because Plaintiff filed her complaint five days before the
expiration of the revival window, but accused Prince Andrew of sexual abuse years earlier. Mem.
at 28 n.13. But an “‘as-applied challenge’ requires an analysis of the facts of a particular case to
determine whether the application of a statute, even one constitutional on its face, deprived the
individual to whom it was applied of a protected right.” PB-36 Doe, 152 N.Y.S.3d at 248 (cleaned
up). Prince Andrew does not explain how the timing of Plaintiff’s claims deprived him of any
protected right. In fact, he ignores the reason that Plaintiff filed her claims when she did—her
counsel reached out to Prince Andrew to resolve this dispute, but Prince Andrew ignored her,
forcing her to file her claims prior to the expiration of the revival window. Compl. ¶ 62.


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ambiguous as to be unintelligible and as to prejudice the defendant seriously in attempting to

answer it.” Kok v. First Unum Life Ins. Co., 154 F. Supp. 2d 777, 781–82 (S.D.N.Y. 2001).

“Motions for a more definite statement are generally disfavored because of their dilatory effect.

The preferred course is to encourage the use of discovery procedures to apprise the parties of the

factual basis of the claims made in the pleadings.” In re Methyl Tertiary Butyl Ether (“MTBE”)

Prod. Liab. Litig., 233 F.R.D. 133, 134–35 (S.D.N.Y. 2005) (cleaned up).

       Here, there is nothing unintelligible about the Complaint, which clearly alleges that Prince

Andrew sexually abused Plaintiff on three occasions in three locations, that his abuse amounted to

battery, and that he inflicted emotional distress on Plaintiff. As explained above, Prince Andrew

cites not a single authority for his made-up, heightened pleading standard. The additional detail

that Prince Andrew seeks will surely be the subject of discovery, and as Prince Andrew’s own

authority makes clear, “Rule 12(e) is designed to remedy unintelligible pleadings, not merely to

correct for lack of detail.” Kelly v. L.L. Cool J., 145 F.R.D. 32, 35 (S.D.N.Y. 1992), aff’d, 23 F.3d

398 (2d Cir. 1994) (citations omitted); United States v. Students Challenging Regul. Agency Procs.

(SCRAP), 412 U.S. 669, 689 n.15, 93 S. Ct. 2405, 2417 (1973) (rejecting defendants’ claim that

they could not answer “allegations which were wholly barren of specifics” where they did not

move for a more definite statement and “certainly normal civil discovery devices were available”

to them (emphasis added)); see also Casella v. Hugh O’Kane Elec. Co., No. 00 Civ. 2481 (LAK),

2000 WL 1530021, at *1 n.2 (S.D.N.Y. Oct. 17, 2000) (Kaplan, J.) (denying motion for more

definite statement as to dates because “Plaintiffs can pursue the question of timing in discovery”).

       Contrary to Prince Andrew’s suggestion, Plaintiff has identified “to which party certain

conduct is attributable.” Mem. at 29. She alleged that Prince Andrew sexually abused her. Compl.

¶ 43. There can be no confusion about to “which party” the conduct is attributable because Plaintiff




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only named one defendant. Mem. at 29. The cases Prince Andrew cites, where a plaintiff failed

to identify which claims were being brought against which of multiple defendants, are thus

inapposite. Caraveo v. Nielsen Media Rsch., Inc., No. 01 Civ. 9609 (LBS), 2002 WL 530993, at

*2 (S.D.N.Y. Apr. 8, 2002); Bower v. Weisman, 639 F. Supp. 532, 538 (S.D.N.Y. 1986).14

       Nor does Prince Andrew explain why he needs more information than alleged to answer

the Complaint. His own words and conduct belie his argument that Plaintiff’s Complaint is so

vague that he cannot respond. Prince Andrew has already responded to Plaintiff’s allegations

against him on an internationally-broadcasted television program by stating that he has never met

her. Compl. ¶ 59.15 If true, then Prince Andrew does not need a single additional fact in order to

deny Plaintiff’s allegations. And he has essentially already done so, stating on the first page of his

brief that “Prince Andrew never sexually abused or assaulted Giuffre. He unequivocally denies

Giuffre’s false allegations against him.” Mem. at 1. Prince Andrew’s request for a more definite

statement is frivolous, and a clear attempt to delay trial on the merits.

                                      V.      CONCLUSION

       For all of the foregoing reasons, the Court should deny Prince Andrew’s motion to dismiss,

request for judicial notice, and motion for a more definite statement.




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   The other cases Prince Andrew cites are inapposite, as they are patent or copyright cases in
which the plaintiffs failed to allege which products infringed their patents or to allege plaintiffs’
registration or ownership of the copyrights at issue. Agilent Techs., Inc. v. Micromuse, Inc., No.
04 CIV. 3090 (RWS), 2004 WL 2346152, at *6 (S.D.N.Y. Oct. 19, 2004); Kelly, 145 F.R.D. at 36.
15
        Prince Andrew also specifically responded to Plaintiff’s allegations in a BBC interview.
His feigned inability to respond to the Complaint should not be credited. Prince Andrew & the
Epstein Scandal: The Newsnight Interview at 20:11–20:47, 21:34–22:15, 24:49–24:56, 29:04–
29:18,         BBC          News         (Nov.        17,        2019),         available          at
https://www.youtube.com/watch?v=QtBS8COhhhM.


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Dated: November 29, 2021                  BOIES SCHILLER FLEXNER LLP

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